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                       EXHIBIT B
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                                         KASOWITZ BENSON TORRES LLP
                                                                  1633 BROADWAY

                                                         NEW YORK, NEW YORK 10019                                                 FED. I.D. XX-XXXXXXX

                                                               PHONE: (212) 506-1700

                                                                 FAX: (212) 506-1800




       AmeriFirst Financials, Inc.
       Eric Bowlby, CEO
       1550 E. McKellips Road, Suite 117
       Mesa, AZ 85203




       INVOICE NO.: 2301114                     February 23, 2023
________________________________________________________________________________

       RE: Reverence Capital



       FOR PROFESSIONAL SERVICES rendered
       through the month of January 2023
       as reflected on the attached printout.



       Fees                                                                                                           $183,245.00

       Less 20% Discount                                                                                                 (36,649.00)

       Total Fees                                                                                                     $146,596.00

       Disbursements                                                                                                                         .00
       Subtotal                                                                                                       $146,596.00

       Applied From On Account                                                                                           (50,000.00)

       TOTAL AMOUNT DUE                                                                                                  $96,596.00



       6148
       12367601




                                         Electronic Funds Transfers (ACH & Wire Transfers)
                        Citibank, N.A. - ABA# 021000089 - Account No: 4980267744 / Swift Code: CITI US 33


              Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.
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                         KASOWITZ BENSON TORRES LLP
                                1633 BROADWAY
                           NEW YORK, NY 10019-6799


                          Federal I.D. # XX-XXXXXXX




                                                               JANUARY 31, 2023


12367601
AmeriFirst Financials, Inc.
Reverence Capital


DATE       ATTORNEY OR ASSISTANT                                              HOURS



12/17/22   EDWARD E. FILUSCH                                                      1.50
           Review initial materials; calls and
           correspondence re strategy/next steps.

12/19/22   MATTHEW A. KRAUS                                                        .80
           Review materials received from client and
           correspondence re same.

12/19/22   EDWARD E. FILUSCH                                                      1.00
           Analyze client-provided materials; calls and
           correspondence re same/strategy.

12/19/22   DUSTIN J. LEE                                                          1.90
           Background research; call with E. Filusch;
           review case documents.

12/20/22   MATTHEW A. KRAUS                                                       2.40
           Prepare for, attend, and debrief from call with
           client; internal discussion re same; review
           materials received from client and
           correspondence re same.

12/20/22   EDWARD E. FILUSCH                                                      1.00
           Review client provided materials; calls and
           correspondence re same.

12/20/22   DUSTIN J. LEE                                                          3.50
           Amerifirst call; review; draft letter; review
           AmeriFirst files.

12/21/22   MATTHEW A. KRAUS                                                       2.50
           Prepare for, attend, and debrief from call with
           client; internal discussion re same; review
           materials received from client in connection
           with drafting demand letter.
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12/21/22   EDWARD E. FILUSCH                                                   2.70
           Revise letter to Reverence; calls and
           correspondence re same/strategy.

12/21/22   DUSTIN J. LEE                                                       5.50
           Draft demand letter; phone call with M. Kraus;
           revise demand letter; call with AmeriFirst
           team.

12/22/22   MATTHEW A. KRAUS                                                    1.80
           Review materials received from client in
           connection with drafting demand letter; review
           and revise draft demand letter and
           correspondence re same.

12/22/22   EDWARD E. FILUSCH                                                   2.80
           Revise Reverence correspondence; calls re
           same/strategy.

12/23/22   MATTHEW A. KRAUS                                                    2.60
           Review and revise draft demand letter and
           correspondence re same; attend call with client
           to discuss demand letter and next steps and
           internal discussion re same.

12/23/22   EDWARD E. FILUSCH                                                   4.20
           Finalize Reverence letter; calls and
           correspondence re same/strategy.

12/23/22   DUSTIN J. LEE                                                       5.00
           Revise and proof demand letter; call with
           AmeriFirst team; circulate updated demand
           letter draft.

12/26/22   DUSTIN J. LEE                                                       3.00
           Revise letter; circulate; coordinate
           transmittal and mailing.

12/27/22   EDWARD E. FILUSCH                                                   1.50
           Finalize Reverence letter; calls re
           same/strategy.

12/27/22   DUSTIN J. LEE                                                       3.20
           Final revisions to demand letter; circulate,
           finalize, and send same.

01/04/23   MATTHEW A. KRAUS                                                    2.60
           Review and revise draft correspondence to
           Reverence; attend calls with client re strategy
           and correspondence re same; internal discussion
           re litigation/negotiation strategy.
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01/04/23   EDWARD E. FILUSCH                                                   2.80
           Calls and correspondence re Reverence demand.

01/04/23   DUSTIN J. LEE                                                        .50
           Call with E. Filusch, M. Kraus, E. Bowlby, A.
           Platt, and J. George re: Reverence response.

01/05/23   MATTHEW A. KRAUS                                                    2.00
           Review and revise draft correspondence to
           Reverence; attend calls with client re strategy
           and correspondence re same; internal discussion
           re litigation/negotiation strategy.

01/05/23   EDWARD E. FILUSCH                                                   2.50
           Attention to Reverence diligence requests;
           calls and correspondence re same/strategy.

01/05/23   DUSTIN J. LEE                                                       1.50
           Review and analyze Reverence response; call
           with E. Bowlby, A. Platt, E. Filusch, and M.
           Krauss.

01/06/23   MATTHEW A. KRAUS                                                    1.50
           Review and revise draft correspondence to
           Reverence; attend calls with client re strategy
           and correspondence re same; internal discussion
           re litigation/negotiation.

01/06/23   EDWARD E. FILUSCH                                                   1.50
           Revise QE letter; calls and correspondence re
           same.

01/06/23   DUSTIN J. LEE                                                       5.00
           Draft response letter to Reverence letter.

01/09/23   MATTHEW A. KRAUS                                                    3.20
           Review and revise draft letter to QE; attend
           calls with client re strategy and
           correspondence re same; internal discussion re
           litigation/negotiation strategy.

01/09/23   EDWARD E. FILUSCH                                                   3.00
           Revise QE correspondence; calls re
           same/strategy/Bridger.

01/09/23   DUSTIN J. LEE                                                       4.00
           Revise Reverence response letter; call with E.
           Filusch and M. Kraus; call with E. Bowlby, A.
           Platt, J. Breuker, J. George, E. Filusch, and
           M. Kraus.
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01/10/23   EDWARD E. FILUSCH                                                   1.00
           Finalize QE correspondence; calls re same/next
           steps.

01/10/23   DUSTIN J. LEE                                                       1.30
           Finalize letter to Quinn Emanuel.

01/11/23   MATTHEW A. KRAUS                                                    1.50
           Attend calls with client re strategy and
           correspondence re same; internal discussion re
           litigation/negotiation; attend call with
           opposing counsel.

01/11/23   EDWARD E. FILUSCH                                                   1.50
           Calls and correspondence re EOD notice.

01/11/23   DUSTIN J. LEE                                                       2.60
           Review notice of default; call with M. Sheth
           and E. Filusch.

01/12/23   MATTHEW A. KRAUS                                                    1.00
           Internal discussion re litigation/negotiation
           and attend call with client re same.

01/12/23   EDWARD E. FILUSCH                                                   1.50
           Calls and correspondence re NOD/next steps.

01/12/23   DUSTIN J. LEE                                                       1.50
           Call with E. Bowlby, J. George, A. Platt, E.
           Filusch and M. Kraus; call with M. Sheth, E.
           Filusch, and M. Kraus.

01/13/23   MATTHEW A. KRAUS                                                    2.20
           Internal discussion re litigation/negotiation
           and correspondence with client re same; review
           and revise draft correspondence to opposing
           counsel; review materials received from client.

01/13/23   EDWARD E. FILUSCH                                                   1.50
           Review QE correspondence; calls re
           strategy/next steps.

01/13/23   DUSTIN J. LEE                                                       2.50
           Call with E. Filusch, draft update email

01/14/23   MATTHEW A. KRAUS                                                    1.50
           Prepare for and attend call with client
           regarding Reverence dispute and next steps.

01/14/23   EDWARD E. FILUSCH                                                   1.50
           Calls and correspondence re QE letter/strategy.
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01/14/23   DUSTIN J. LEE                                                       1.80
           Call with AFI team re: notice of default;
           follow-up call with E. Filusch; compile
           documents for Quinn Emanuel.

01/15/23   DUSTIN J. LEE                                                       1.00
           Review financial documents; draft email to M.
           Sheth.

01/16/23   EDWARD E. FILUSCH                                                   2.50
           Prepare QE correspondence; calls re
           same/strategy.

01/16/23   DUSTIN J. LEE                                                       2.90
           Compile documents for transfer to M. Sheth;
           revise email; coordinate transfer.

01/17/23   DUSTIN J. LEE                                                       1.00
           Email to working group; conversation with E.
           Filusch.

01/18/23   MATTHEW A. KRAUS                                                    1.00
           Attend meeting with client to discuss re
           litigation strategy/negotiation and internal
           discussion re same.

01/18/23   EDWARD E. FILUSCH                                                   1.00
           Calls re strategy/NOD next steps.

01/19/23   MATTHEW A. KRAUS                                                     .50
           Internal discussion re litigation/negotiation
           and correspondence re same.

01/19/23   EDWARD E. FILUSCH                                                   1.00
           Calls with QE/team re settlement/next steps.

01/20/23   MATTHEW A. KRAUS                                                    1.30
           Internal discussion re litigation/negotiation
           and correspondence with client re same; review
           and revise draft correspondence to opposing
           counsel; review materials received from client.

01/20/23   EDWARD E. FILUSCH                                                   1.50
           Analyze materials re settlement meeting; calls
           and correspondence re same/strategy.

01/22/23   EDWARD E. FILUSCH                                                    .50
           Prepare for settlement meeting; calls re same.
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01/23/23   MATTHEW A. KRAUS                                                    2.80
           Internal discussion re litigation/negotiation;
           meet with client to discuss and debrief from
           meeting with QE/Reverence.

01/23/23   EDWARD E. FILUSCH                                                   5.50
           Prepare for and meet with Reverence re
           settlement proposal.

01/23/23   DUSTIN J. LEE                                                       5.50
           Meeting with E. Bowlby, A. Platt; M. Kraus, and
           E. Filusch; meeting with E. Bowlby, A. Platt,
           E. Filusch, and RCP team at RCP offices.

01/24/23   MATTHEW A. KRAUS                                                    2.00
           Review and revise draft correspondence to
           opposing counsel and accompanying materials;
           internal discussion re litigation/negotiation.

01/24/23   EDWARD E. FILUSCH                                                   2.00
           Revise term sheet; calls and correspondence re
           same/strategy.

01/24/23   DUSTIN J. LEE                                                       7.00
           Revise AFI-RCP term sheet; client communication
           re: same.

01/25/23   MATTHEW A. KRAUS                                                    1.40
           Internal discussion re litigation/negotiation;
           attend call with opposing counsel; attend call
           with client.

01/25/23   EDWARD E. FILUSCH                                                   2.50
           Calls and correspondence re term
           sheet/strategy.

01/25/23   DUSTIN J. LEE                                                       4.50
           Call with E. Filusch, A. Platt, J. George, and
           M. Kraus re: Bridger S&D trade; call with M.
           Sheth, P. Tomasco, and E. Filusch re: term
           sheet; revisions to term sheet; call with E.
           Bowlby, A. Platt, J. George, and E. Filusch re:
           FNMA deadline; call with M. Sheth and E.
           Filusch re: FNMA deadline.

01/26/23   EDWARD E. FILUSCH                                                   1.50
           Calls and correspondence with QE/team re term
           sheet.
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01/27/23   MATTHEW A. KRAUS                                                    1.10
           Review Reverence term sheet and internal
           discussion/correspondence re same.

01/27/23   EDWARD E. FILUSCH                                                   1.50
           Analyze issues re Bridger/term sheet.

01/27/23   DUSTIN J. LEE                                                       1.50
           Meeting with E. Filusch; call with E. Filusch
           and M. Sheth; review and revise term sheet.

01/28/23   MATTHEW A. KRAUS                                                    1.90
           Review Reverence term sheet and internal
           discussion/correspondence re same; prepare for
           and attend call with client re next steps.

01/28/23   EDWARD E. FILUSCH                                                   3.00
           Revise proposal; calls and correspondence re
           same/strategy.

01/28/23   DUSTIN J. LEE                                                       2.50
           Call with E. Bowlby, J. George, A. Platt, E.
           Filusch and M. Kraus re: RCP turn of term
           sheet; preparation for same; call with E.
           Filusch re: next steps.

01/30/23   MATTHEW A. KRAUS                                                    2.00
           Internal discussion re litigation/negotiation
           strategy; attend call with client re same;
           attend call with opposing counsel and
           correspondence re same.

01/30/23   EDWARD E. FILUSCH                                                   2.00
           Calls and correspondence re Bridger/next steps.

01/30/23   DUSTIN J. LEE                                                       2.00
           Call with E. Filusch and M. Sheth re: employee
           payout and California owed amounts.

01/31/23   MATTHEW A. KRAUS                                                    2.20
           Prepare for and attend call with opposing
           counsel and Reverence and debrief re same;
           internal discussion re litigation/negotiation
           strategy and correspondence with client re same

01/31/23   EDWARD E. FILUSCH                                                   5.50
           Calls and correspondence re Bridger and
           settlement issues.
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01/31/23   DUSTIN J. LEE                                                         3.10
           Call with AmeriFirst team; zoom with QE/RCP
           principals.



                    TOTAL HOURS                                                177.10
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                                      HOURS            RATE              AMOUNT
  PARTNER
  EDWARD E. FILUSCH                   61.50        1,200.00           73,800.00
  MATTHEW A. KRAUS                    41.80        1,250.00           52,250.00

  ASSOCIATE
  DUSTIN J. LEE                       73.80           775.00          57,195.00




                       TOTAL FEES                                  $183,245.00


                      TOTAL COSTS                                             $.00



          TOTAL FEES AND COSTS                                     $183,245.00
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                                         KASOWITZ BENSON TORRES LLP
                                                                  1633 BROADWAY

                                                         NEW YORK, NEW YORK 10019                                                 FED. I.D. XX-XXXXXXX

                                                               PHONE: (212) 506-1700

                                                                 FAX: (212) 506-1800




       AmeriFirst Financials, Inc.
       Eric Bowlby, CEO
       1550 E. McKellips Road, Suite 117
       Mesa, AZ 85203




       INVOICE NO.: 2302526                     April 19, 2023
________________________________________________________________________________

       RE: Reverence Capital



       FOR PROFESSIONAL SERVICES rendered
       through the month of March 2023
       as reflected on the attached printout.



       Fees                                                                                                              $90,472.50

       Less 20% Discount                                                                                                 (18,094.50)

       Total Fees                                                                                                        $72,378.00

       Disbursements                                                                                                                         .00
       TOTAL AMOUNT DUE                                                                                                  $72,378.00



       6148
       12367601




                                         Electronic Funds Transfers (ACH & Wire Transfers)
                        Citibank, N.A. - ABA# 021000089 - Account No: 4980267744 / Swift Code: CITI US 33


              Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.
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                         KASOWITZ BENSON TORRES LLP
                                1633 BROADWAY
                           NEW YORK, NY 10019-6799


                           Federal I.D. # XX-XXXXXXX




                                                               MARCH 31, 2023


12367601
AmeriFirst Financials, Inc.
Reverence Capital


DATE       ATTORNEY OR ASSISTANT                                                HOURS



02/01/23   EDWARD E. FILUSCH                                                    1.30
           Attention to bridger issue; calls and
           correspondence re AFI financials.

02/01/23   DUSTIN J. LEE                                                         .80
           Call with AmeriFirst team, Quinn Emanuel team,
           Reverence principals.

02/02/23   EDWARD E. FILUSCH                                                    3.50
           Analyze issues re subordination and path
           forward; calls and correspondence re same.

02/02/23   DUSTIN J. LEE                                                        4.40
           Call with AFI team, E. Filusch re: RCP closeout
           notices; review credit agreement and DACA re:
           permitted uses; call with M. Sheth and E.
           Filusch re: closeout notices; draft update
           email.

02/03/23   EDWARD E. FILUSCH                                                    3.00
           Analyze materials re Bridger transaction; calls
           and correspondence re same/settlement.

02/03/23   DUSTIN J. LEE                                                        4.20
           Calls and correspondence re RCP request.

02/09/23   EDWARD E. FILUSCH                                                     .50
           Calls and correspondence re Term Sheet update.

02/15/23   EDWARD E. FILUSCH                                                     .50
           Calls and correspondence re RCP negotiations
           update/strategy.
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02/16/23   EDWARD E. FILUSCH                                                     .50
           Calls with QE re term sheet proposal;
           correspondence re same/strategy.

02/17/23   EDWARD E. FILUSCH                                                     .50
           Calls and correspondence re settlement
           proposal.

02/23/23   EDWARD E. FILUSCH                                                    1.50
           Calls and correspondence re RCP
           proposal/strategy.

02/23/23   DUSTIN J. LEE                                                        1.40
           Review Reverence proposal; call with E. Bowlby,
           A. Platt, J. George and E. Filusch regarding
           same.

02/24/23   EDWARD E. FILUSCH                                                    1.50
           Revise draft Term Sheet; correspondence re
           same/strategy.

02/24/23   DUSTIN J. LEE                                                        3.90
           Review E. Bowlsy response to RCP term sheet
           proposal; call with E. Filusch regarding same;
           revisions to RCP term sheet proposal.

02/25/23   DUSTIN J. LEE                                                        1.40
           Revise term sheet.

02/26/23   EDWARD E. FILUSCH                                                     .50
           Revise Term Sheet; correspondence re
           same/strategy.

02/26/23   DUSTIN J. LEE                                                        1.50
           Revise response to RCP proposal; call with E.
           Filusch re: same.

02/27/23   EDWARD E. FILUSCH                                                     .50
           Revise Term Sheet; correspondence re same.

02/27/23   DUSTIN J. LEE                                                         .90
           Revise term sheet proposal.

03/06/23   EDWARD E. FILUSCH                                                     .50
           Correspondence re term sheet/strategy.

03/09/23   EDWARD E. FILUSCH                                                    1.50
           Revise term sheet; calls and correspondence re
           same/strategy.
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03/09/23   DUSTIN J. LEE                                                        4.50
           Call with E. Bowlby, A. Platt, J. George, and
           E. Filusch; revisions to RCP/AFI term sheet.

03/10/23   EDWARD E. FILUSCH                                                    1.00
           Revise term sheet; calls and correspondence re
           same/strategy.

03/10/23   DUSTIN J. LEE                                                        1.50
           Revisions to term sheet; calls re: same.

03/16/23   EDWARD E. FILUSCH                                                     .50
           Review materials re audit/term sheet.

03/16/23   DUSTIN J. LEE                                                         .50
           Draft audit letter.

03/17/23   EDWARD E. FILUSCH                                                     .50
           Review draft term sheet; correspondence re
           same.

03/20/23   EDWARD E. FILUSCH                                                    1.50
           Revise term sheet; calls and correspondence re
           same.

03/20/23   DUSTIN J. LEE                                                        1.40
           Call with AFI team re: terms; discussion with
           E. Filusch re: same.

03/21/23   EDWARD E. FILUSCH                                                    1.80
           Revise waiver letter; correspondence re
           same/term sheet/strategy.

03/21/23   DUSTIN J. LEE                                                        1.00
           Review term sheet; email to E. Filusch re: new
           credit terms.

03/23/23   EDWARD E. FILUSCH                                                    1.50
           Revise waiver letter; correspondence re
           same/term sheet/strategy.

03/24/23   EDWARD E. FILUSCH                                                    2.00
           Revise term sheet; calls and correspondence re
           same/strategy.

03/24/23   DUSTIN J. LEE                                                        2.10
           Call re: RCP Proposal; draft response.

03/25/23   DUSTIN J. LEE                                                        1.00
           Revisions to response term sheet.
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INVOICE NO.: 2302526


03/27/23   EDWARD E. FILUSCH                                                     .70
           Calls re term sheet and notices.

03/28/23   EDWARD E. FILUSCH                                                    2.20
           Calls and correspondence re settlement
           issues/agency tickets/strategy.

03/28/23   DUSTIN J. LEE                                                        2.20
           Call with E. Filusch and M. Sheth re: terms;
           preparation for same.

03/29/23   EDWARD E. FILUSCH                                                    3.70
           Negotiations re term sheet.

03/29/23   DUSTIN J. LEE                                                        4.50
           Call with E. Filusch and E. Bowlby; Call with
           RCP and QE teams.

03/30/23   EDWARD E. FILUSCH                                                    5.50
           Calls and correspondence re settlement/term
           sheet.

03/30/23   DUSTIN J. LEE                                                        5.10
           RCP/AFI term sheet business call; revisions;
           call with E. Filusch re: same.

03/31/23   EDWARD E. FILUSCH                                                    7.50
           Negotiate and finalize term sheet.

03/31/23   DUSTIN J. LEE                                                        6.00
           Finalize term sheet.



                    TOTAL HOURS                                                 92.50
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FILE NUMBER: 12367601
INVOICE NO.: 2302526



                                      HOURS            RATE              AMOUNT
  PARTNER
  EDWARD E. FILUSCH                   44.20        1,200.00           53,040.00

  ASSOCIATE
  DUSTIN J. LEE                       48.30           775.00          37,432.50




                       TOTAL FEES                                   $90,472.50


                      TOTAL COSTS                                             $.00



          TOTAL FEES AND COSTS                                      $90,472.50
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                                         KASOWITZ BENSON TORRES LLP
                                                                  1633 BROADWAY

                                                         NEW YORK, NEW YORK 10019                                                 FED. I.D. XX-XXXXXXX

                                                               PHONE: (212) 506-1700

                                                                 FAX: (212) 506-1800




       AmeriFirst Financials, Inc.
       Eric Bowlby, CEO
       1550 E. McKellips Road, Suite 117
       Mesa, AZ 85203




       INVOICE NO.: 2303226                     May 11, 2023
________________________________________________________________________________

       RE: Reverence Capital



       FOR PROFESSIONAL SERVICES rendered
       through the month of April 2023
       as reflected on the attached printout.



       Fees                                                                                                           $108,722.50

       Less 20% Discount                                                                                                 (21,744.50)

       Total Fees                                                                                                        $86,978.00

       Disbursements                                                                                                                         .00
       Current Amount Due                                                                                                $86,978.00

       Previous Balance                                                                                                    72,378.00

       TOTAL AMOUNT DUE                                                                                               $159,356.00



       6148
       12367601




                                         Electronic Funds Transfers (ACH & Wire Transfers)
                        Citibank, N.A. - ABA# 021000089 - Account No: 4980267744 / Swift Code: CITI US 33


              Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.
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                         KASOWITZ BENSON TORRES LLP
                                1633 BROADWAY
                           NEW YORK, NY 10019-6799


                           Federal I.D. # XX-XXXXXXX




                                                               APRIL 30, 2023


12367601
AmeriFirst Financials, Inc.
Reverence Capital


DATE       ATTORNEY OR ASSISTANT                                                HOURS



04/03/23   EDWARD E. FILUSCH                                                     .50
           Calls and correspondence re settlement
           agreement.

04/03/23   DUSTIN J. LEE                                                        2.10
           Calls with Quinn Emanuel team.

04/04/23   EDWARD E. FILUSCH                                                    1.00
           Calls and correspondence re settlement
           materials.

04/05/23   MICHAEL D. ROSENBLOOM                                                1.30
           Review term sheet; conf call re
           transaction;review form certificate of
           designation.

04/05/23   BARRY RUTCOFSKY                                                      1.60
           Review Settlement Term Sheet; conference call
           w/MRosenbloom and EFilush re same; prepare
           certificate of designation.

04/05/23   EDWARD E. FILUSCH                                                    1.00
           Revise draft settlement materials.

04/05/23   DUSTIN J. LEE                                                        1.60
           Call with B. Rutcofsky re: loan amendment
           documents; review of loan amendment documents;
           edits to same.

04/06/23   BARRY RUTCOFSKY                                                       .70
           Work on Preferred equity re settlement.

04/06/23   EDWARD E. FILUSCH                                                     .70
           Calls re draft settlement agreement materials.
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04/10/23   MICHAEL D. ROSENBLOOM                                                5.80
           Review term sheet; review draft Certificate of
           Designation; draft form of Promissory Note.

04/10/23   BARRY RUTCOFSKY                                                      5.10
           Review Certificate of Incorporation; review
           Credit agreement; review Term Sheet; draft and
           revise Certificate of Designation re Preferred
           Equity.

04/10/23   EDWARD E. FILUSCH                                                     .50
           Revise settlement-related documents.

04/11/23   BARRY RUTCOFSKY                                                      2.20
           Review and revise Note; review revise and
           transmit Certificate of Designation.

04/11/23   EDWARD E. FILUSCH                                                     .50
           Correspondence re settlement materials.

04/11/23   DUSTIN J. LEE                                                        2.00
           Review and revise promissory note.

04/12/23   BARRY RUTCOFSKY                                                      5.30
           Review Amendment and Amended and Restated
           Credit Agreement; prepare and transmit e-mails
           re comments

04/12/23   EDWARD E. FILUSCH                                                    1.50
           Calls and correspondence re credit agreement
           and related documents.

04/12/23   DUSTIN J. LEE                                                        3.20
           Review and revise A&R Credit Agreement and
           ancillary agreements; call with A. Platt re:
           loan documents; call with B. Rutcofsky re: loan
           documents.

04/13/23   EDWARD E. FILUSCH                                                    1.30
           Revise credit agreement documents; calls and
           correspondence re same.

04/14/23   MICHAEL D. ROSENBLOOM                                                4.80
           Review and comment on Security Agreement;
           review and comment on Pledge Agreement; review
           draft Credit Agreement; email correspondence;
           tcs BR re same.
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04/14/23   BARRY RUTCOFSKY                                                      1.10
           Review revised Credit Agreement; review e-mail
           re comments to Pledge and Security agreement;
           t/c MRosenbloom re same.

04/14/23   EDWARD E. FILUSCH                                                    1.60
           Attention to settlement issues.

04/15/23   BARRY RUTCOFSKY                                                       .50
           Review revised Credit Agreement.

04/15/23   EDWARD E. FILUSCH                                                    1.50
           Calls and correspondence re settlement
           agreement.

04/15/23   DUSTIN J. LEE                                                        1.60
           Call with E. Filusch; Zoom with AFI team re:
           A&R Credit Agreement.

04/16/23   EDWARD E. FILUSCH                                                    2.00
           Calls re credit agreement/settlement.

04/16/23   DUSTIN J. LEE                                                        2.00
           Call with E. Bowlby, J. George, A. Platt, and
           E. Filusch re: A&R Credit Agreement, Hope Note,
           and Preferred certificate; revisions to
           promissory note and preferred certificate.

04/17/23   MICHAEL D. ROSENBLOOM                                                1.80
           Review markups of Pledge Agreement and Security
           Agreement; review revised Credit Agreement;
           review revised Promissory Note; review revised
           Certificate of Designation.

04/17/23   EDWARD E. FILUSCH                                                     .80
           Revise settlement documents.

04/18/23   EDWARD E. FILUSCH                                                    1.30
           Revise settlement materials.

04/18/23   DUSTIN J. LEE                                                        3.50
           Review and revise settlement agreement; RCP
           turn of A&R credit agreement.

04/19/23   MICHAEL D. ROSENBLOOM                                                1.50
           Review revised draft credit agreement.

04/19/23   EDWARD E. FILUSCH                                                    1.50
           Calls and correspondence re credit agreement.
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04/19/23   DUSTIN J. LEE                                                        3.50
           Review RCP markup to A&R credit agreement;
           revise; discuss same with E. Filusch; draft
           checklist of remaining documents; email J.
           George re: same.

04/20/23   MICHAEL D. ROSENBLOOM                                                1.40
           Review revised draft documents; email
           correspondence.

04/20/23   BARRY RUTCOFSKY                                                       .70
           Review revised Credit Agreement; review e-mails
           re revisions.

04/20/23   EDWARD E. FILUSCH                                                     .80
           Revise note and equity docs.

04/21/23   MICHAEL D. ROSENBLOOM                                                2.20
           Review revised draft Hope Note and Certificate
           of Designation; tc BR re same; draft comments.

04/21/23   EDWARD E. FILUSCH                                                    1.80
           Revise settlement agreement; calls and
           correspondence re strategy/next steps.

04/21/23   DUSTIN J. LEE                                                        5.70
           Draft internal punchlist; review A&R Credit
           Agreement; review ancillary loan documents;
           send comments to loan documents to J. George.

04/22/23   EDWARD E. FILUSCH                                                    2.60
           Calls and correspondence re A&R agreement.

04/22/23   DUSTIN J. LEE                                                        3.00
           Call with AFI team; revisions to A&R credit
           documents.

04/24/23   EDWARD E. FILUSCH                                                    1.70
           Revise settlement documents; calls re
           same/strategy.

04/24/23   DUSTIN J. LEE                                                        3.10
           Preparation for AFI call with RCP; call with
           RCP; review and comment on loan documents.

04/25/23   EDWARD E. FILUSCH                                                    2.20
           Revise settlement documents; calls re
           same/strategy.
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04/25/23   DUSTIN J. LEE                                                        6.20
           Review and comment on RCP revisions to A&R
           Credit Agreement; ancillary loan documents;
           discussion with E. Filusch re: same.

04/26/23   EDWARD E. FILUSCH                                                    1.20
           Revise A&R agreement.

04/26/23   DUSTIN J. LEE                                                        1.50
           Call with RCP re: loan documents; review of
           same.

04/28/23   EDWARD E. FILUSCH                                                    2.60
           Review settlement agreements and ancillary
           documents; calls and correspondence re
           same/strategy.

04/28/23   DUSTIN J. LEE                                                        2.50
           Review RCP revisions to loan documents; call
           with E. Filusch re: same; summary emails re:
           same.

04/29/23   EDWARD E. FILUSCH                                                     .70
           Calls and correspondence re customers issues.



                    TOTAL HOURS                                                106.80
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                                      HOURS            RATE              AMOUNT
  PARTNER
  EDWARD E. FILUSCH                   29.30        1,200.00           35,160.00
  MICHAEL D. ROSENBLOOM               18.80        1,150.00           21,620.00
  BARRY RUTCOFSKY                     17.20        1,150.00           19,780.00

  ASSOCIATE
  DUSTIN J. LEE                       41.50           775.00          32,162.50




                    TOTAL FEES                                     $108,722.50


                   TOTAL COSTS                                                $.00



          TOTAL FEES AND COSTS                                     $108,722.50
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                                         KASOWITZ BENSON TORRES LLP
                                                                  1633 BROADWAY

                                                         NEW YORK, NEW YORK 10019                                                 FED. I.D. XX-XXXXXXX

                                                               PHONE: (212) 506-1700

                                                                 FAX: (212) 506-1800




       AmeriFirst Financials, Inc.
       Eric Bowlby, CEO
       1550 E. McKellips Road, Suite 117
       Mesa, AZ 85203




       INVOICE NO.: 2305229                     July 31, 2023
________________________________________________________________________________

       RE: Reverence Capital



       FOR PROFESSIONAL SERVICES rendered
       through the month of June 2023
       as reflected on the attached printout.



       Fees                                                                                                              $35,037.50

       Less 20% Discount                                                                                                   (7,007.50)

       Total Fees                                                                                                        $28,030.00

       Disbursements                                                                                                                         .00
       Current Amount Due                                                                                                $28,030.00

       Previous Balance                                                                                                  159,356.00

       TOTAL AMOUNT DUE                                                                                               $187,386.00



       6148
       12367601




                                         Electronic Funds Transfers (ACH & Wire Transfers)
                        Citibank, N.A. - ABA# 021000089 - Account No: 4980267744 / Swift Code: CITI US 33


              Disbursements and other charges incurred which have not yet been posted as of the above date will be billed at a later date.
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                         KASOWITZ BENSON TORRES LLP
                                1633 BROADWAY
                           NEW YORK, NY 10019-6799


                           Federal I.D. # XX-XXXXXXX




                                                               JUNE 30, 2023


12367601
AmeriFirst Financials, Inc.
Reverence Capital


DATE       ATTORNEY OR ASSISTANT                                               HOURS



05/01/23   EDWARD E. FILUSCH                                                    .80
           Revise settlement materials; calls and
           correspondence re same.

05/02/23   DUSTIN J. LEE                                                        .60
           Group call with AFI and RCP re: final edits to
           deal documents.

05/08/23   EDWARD E. FILUSCH                                                   1.00
           Prepare for and call re intercreditor issues.

05/09/23   EDWARD E. FILUSCH                                                    .50
           Analyze materials re customers call;
           correspondence re same.

05/15/23   EDWARD E. FILUSCH                                                   1.20
           Calls re settlement agreement/strategy.

05/15/23   DUSTIN J. LEE                                                        .60
           Conference with AFI and RCP teams re: final
           closing matters.

06/15/23   EDWARD E. FILUSCH                                                    .50
           Correspondence re customers/RCP issue.

06/15/23   DUSTIN J. LEE                                                       1.60
           Call with RCP team; call with E. Filusch;
           discussion of Customers.

06/16/23   EDWARD E. FILUSCH                                                   2.20
           Analyze settlement documents; calls and
           correspondence re customers issue/strategy.
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06/16/23   DUSTIN J. LEE                                                        2.50
           Call with AFI team; pull email/ contemporaneous
           documents; call with E. Filusch.

06/17/23   EDWARD E. FILUSCH                                                    1.50
           Calls and correspondence re customers issues.

06/18/23   DUSTIN J. LEE                                                         .50
           Review draft note.

06/19/23   EDWARD E. FILUSCH                                                    1.00
           Calls and correspondence re customers
           issues/strategy.

06/20/23   EDWARD E. FILUSCH                                                     .50
           Calls and correspondence re S&D issue.

06/21/23   EDWARD E. FILUSCH                                                    1.50
           Analyze issues re Customers obligations; calls
           and correspondence re same/strategy.

06/22/23   EDWARD E. FILUSCH                                                    1.00
           Calls/correspondence re Customers issues.

06/22/23   DUSTIN J. LEE                                                         .50
           Attention to emails re: Customers Bank.

06/23/23   EDWARD E. FILUSCH                                                    2.30
           Calls with team/QE re customers issues.

06/23/23   DUSTIN J. LEE                                                        1.50
           Draft letter re: RCP breach; review of
           documents regarding same.

06/26/23   EDWARD E. FILUSCH                                                    1.80
           Calls and correspondence re customers approval.

06/26/23   DUSTIN J. LEE                                                         .50
           Update call with AFI team.

06/27/23   EDWARD E. FILUSCH                                                    1.70
           Calls and correspondence re warehouse lines.

06/28/23   EDWARD E. FILUSCH                                                    1.20
           Calls and correspondence re warehouse lines;
           analyze settlement agreement.

06/29/23   EDWARD E. FILUSCH                                                    2.00
           Calls and correspondence re warehouse
           lines/strategy/next steps.
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06/29/23   DUSTIN J. LEE                                                        1.50
           Call with AFI team; draft response email;
           revise letter to RCP.

06/30/23   EDWARD E. FILUSCH                                                    1.20
           Calls and correspondence re warehouse lines,
           DACA, strategy/next steps.

06/30/23   DUSTIN J. LEE                                                        1.50
           AFI update call; updates to letter; discussion
           re: same.



                    TOTAL HOURS                                                 33.20
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INVOICE NO.: 2305229



                                      HOURS            RATE              AMOUNT
  PARTNER
  EDWARD E. FILUSCH                   21.90        1,200.00           26,280.00

  ASSOCIATE
  DUSTIN J. LEE                       11.30           775.00           8,757.50




                       TOTAL FEES                                   $35,037.50


                      TOTAL COSTS                                             $.00



          TOTAL FEES AND COSTS                                      $35,037.50
